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                     UNITED STATES OF AMERICA
       U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


BUSINESS HEALTH SOLUTIONS, P.C.,


       Plaintiff,
                                              Case No. 2:16-cv-12830-VAR-DRG

-vs-                                          Honorable Victoria A. Roberts


MEDICAL DIAGNOSTIC
LABORATORIES, LLC and
JOHN DOES 1-10,

              Defendants.


                            NOTICE OF DISMISSAL

       NOW COMES the Plaintiff, by and through its undersigned attorneys, and
pursuant to Fed R. Civ. Proc. 41(a)(1)(A)(ii), hereby voluntarily dismisses Plaintiff’s
individual claims against Defendants without prejudice, and with each party bearing
its own costs. Plaintiff’s class claims are dismissed without prejudice and with each
party bearing its own costs. This notice of dismissal disposes of the entire action.



                                            Respectfully submitted,


                                             PLAINTIFF

                                             BUSINESS HEALTH
                                             SOLUTIONS, P.C.,
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                                      /s/ Daniel A. Edelman
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                                      /s/ Adam G. Taub
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                          CERTIFICATE OF SERVICE

      I, Daniel A. Edelman, hereby certify that on August 26, 2016, I caused a true
and accurate copy of the foregoing document to be filed with the Clerk of the
United States District Court for the Eastern District of Michigan via the Clerk's
CM/ECF system and served a true and accurate copy on the following party:



Via U.S. Mail:
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                                                   s/ Daniel A. Edelman
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